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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK DOCUMENT ; |

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TREVOR BRITVEC, et al., DOCH |

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Plaintiffs,
-against- 21-cv- 10759 (LAK)

THE CITY OF NEW YORK, et al.,
Defendants.
FRANCISCO JAVIER CASABLANCA-TORRES,

Plaintiffs,
~against- 21-cv-10823 (LAK)

THE CITY OF NEW YORK, et al.,

Defendants.

ORDER

LEWIS A. KAPLAN, District Judge.

1. These two actions are consolidated solely for discovery and discovery-related
pretrial proceedings. Papers relating to both such actions shall bear both captions.

2, After consultation and agreement with Judge McMahon, the plaintiffs’

applications (21-cv-10759, Dkt. 16; 21-cv-10832, Dkt. 19) to transfer these actions to Judge
McMahon for consolidated or coordinated proceedings with certain cases pending before her are
denied.

3, Counsel are urged to coordinate discovery in these actions with discovery in
the cases before Judge McMahon to the extent that such coordination would be helpful and
appropriate and to do so without the need for judicial intervention, In the event any party seeks

 
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judicial intervention in service of that goal, Judge McMahon and the undersigned are amenable to
considering appropriate applications where agreement cannot be achieved.

SO ORDERED.

Dated: January 31, 2022

Lewis A. Réphan
United States Districtfudge

 
